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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,
                                             Plaintiff,

                                                                    Case #14-CR-6136-FPG
v.
                                                                    DECISION AND ORDER

COLIN MONTAGUE, a/k/a Uncle, a/k/a “C”, and
MONTAGUE ENTERPRISES, INC.,

                                    Defendants.
________________________________________________


       The Second Superseding Indictment in this case charges Defendant Colin Montague with

engaging in a continuing criminal enterprise, conspiring to possess with intent to distribute

cocaine and cocaine base, conspiring to commit money laundering, and six substantive counts of

money laundering. See ECF No. 55. Corporate Defendant Montague Enterprises, Inc. is also

charged with conspiring to commit money laundering and six substantive counts of money

laundering.   Id.   As relevant here, the Second Superseding Indictment also contains two

forfeiture allegations, which allege, inter alia, that numerous real properties should be forfeited

to the government upon the Defendants’ convictions. Id.

       On November 12, 2015, the Court entered a Stipulation and Order for Interlocutory Sale.

ECF No. 213. The Stipulation was signed by the parties’ respective counsel, and by Defendant

Colin Montague twice: once in his individual capacity and again as President of Montague

Enterprises, Inc. Id. The Stipulation and Order provided for the United States Marshals Service

to take custody and control of twenty four of the real properties listed in the Second Superseding

Indictment’s forfeiture allegation, to sell the properties, and to hold the net sale proceeds in

escrow pending the resolution of this case. Id.
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       The government has moved for an order compelling Montague Enterprises, Inc. and

Colin Montague to execute paperwork that is required to effectuate the parties’ Stipulation, and

more precisely, to effectuate the sale of these properties by the Marshals Service to a subsequent

purchaser. ECF No. 289. In short, the government avers that despite repeated attempts, neither

Defendant Colin Montague nor Corporate Defendant Montague Enterprises, Inc. have executed

the sale documents required to effectuate the parties’ Stipulation and Order for Interlocutory

Sale, and it seeks an order from this Court to compel compliance. Despite having ample time to

respond, neither Defendant Colin Montague nor Corporate Defendant Montague Enterprises, Inc.

have opposed the government’s motion.

       Magistrate Judge Jonathan W. Feldman previously dealt with this issue in his Order of

June 30, 2016. ECF No. 271. There, Judge Feldman clearly ordered that “all counsel shall

cooperate to execute documents needed to effectuate the Stipulation and Order [ECF No. 213]

approved by Chief Judge Geraci.” Id. That Order remains in effect, and because there has been

no challenge to either Judge Feldman’s Order or the government’s current Motion, the

government’s Motion (ECF No. 289) is GRANTED. Consistent with Judge Feldman’s prior

Order, all counsel shall cooperate to promptly execute the documents needed to effectuate the

parties’ Stipulation and Order.

       IT IS SO ORDERED.

DATED:         Rochester, New York
               November 15, 2016



                                             ______________________________________
                                             HON. FRANK P. GERACI, JR.
                                             Chief Judge
                                             United States District Court




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